
983 So.2d 1266 (2008)
STATE ex rel. Rogers ATKINS
v.
STATE of Louisiana.
No. 2007-KH-1879.
Supreme Court of Louisiana.
June 20, 2008.
In re Atkins, Rogers;Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Morehouse, 4th Judicial District Court Div. H, No. 82-384A; to the Court of Appeal, Second Circuit, No. 42867-KH.
Denied. Untimely and repetitive. La. C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; cf. La.C.Cr.P. art. 930.4(D).
